                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

      v.                                               Case No. 09-CR-54

BLAKE WILSON
                    Defendant.


                              SENTENCING MEMORANDUM

      Law enforcement learned that a man named Eureka Hopson was in the business of

robbing drug dealers. Posing as a cocaine trafficker from New York, an undercover agent

devised a plan with Hopson whereby they would rob the agent’s “supplier” of fourteen

kilograms of cocaine. Hopson’s associate, Xavier Turner, recruited six other men (who had

gathered at the residence of a man named Deshaun Baldwin) to participate in the crime.

Defendant Blake Wilson was one of them.

      Agents arrested the men, and defendant agreed to plead guilty to attempted obstruction

of commerce by robbery, contrary to 18 U.S.C. § 1951. I ordered a pre-sentence report

(“PSR”) and set the case for sentencing. In imposing sentence, the district court must first

calculate the advisory sentencing guideline range, then determine the ultimate sentence under

all of the factors set forth in 18 U.S.C. § 3553(a). See, e.g., United States v. Bush, 523 F.3d

727, 729 (7th Cir. 2008). This memorandum sets forth written reasons for my determinations.

                                       I. GUIDELINES

      Defendant’s PSR set a base offense level of 20, U.S.S.G. § 2B3.1(a), then added

enhancements of 5 levels for firearm possession, § 2B3.1(b)(2)(C), and 1 level because the



    Case 2:09-cr-00054-LA      Filed 06/16/10    Page 1 of 14    Document 186
taking of a controlled substance “was an object of the offense,” § 2B3.1(b)(6), for an adjusted

level of 26. The report declined to deduct 3 levels under the attempt guideline, § 2X1.1(b)(1),

but did subtract 3 levels for acceptance of responsibility, § 3E1.1, for a final level of 23. The

PSR then set a criminal history category of III based on a criminal history score of 5.1

       Defendant objected to the offense level enhancements and the criminal history points

under § 4A1.1(e). (PSR ¶¶ 31, 32 & 48.) The government supported the enhancements and

criminal history scoring in the PSR, but believed that defendant qualified to the attempt

reduction under § 2X1.1. At sentencing, defendant also argued for the attempt reduction.

(PSR ¶ 34.)

A.     Firearm Possession Enhancement

       Under U.S.S.G. § 2B3.1(b)(2)(C), “if a firearm was brandished or possessed, increase

by 5 levels.” Defendant admitted that police recovered three guns when he and his cohorts

were arrested, including one found at his feet in the car in which he was a passenger. The

PSR indicated that this gun fell out of co-defendant Johnny Gilliam’s lap. (PSR ¶ 21.)

Defendant argued that the facts set forth in the PSR failed to establish that he knew Gilliam

possessed the gun before Gilliam dropped it.           Defendant also claimed that he did not

personally possess a gun, and that there was no evidence that he participated in the planning

of the offense, such that it was foreseeable to him that firearms would be involved.

       Under U.S.S.G. § 1B1.3, a defendant is responsible for all acts and omissions he


       1
       The report assessed 1 point under U.S.S.G. § 4A1.1(c) for a 2005 marijuana
possession case (sentence: $200 fine); 2 points under U.S.S.G. §§ 4A1.1(b) & (k) for a 2005
marijuana possession, resisting an officer, and bail jumping case (sentence: 6 months jail after
revocation of probation); and 2 points under U.S.S.G. § 4A1.1(e) because defendant
committed the instant offense in January 2008, less than two years after his May 2007 release
from the 6 month jail sentence.

                                                 2


     Case 2:09-cr-00054-LA      Filed 06/16/10       Page 2 of 14   Document 186
committed, aided, abetted, counseled, commanded, induced, procured, or willfully caused, and,

in the case of a jointly undertaken criminal activity, all reasonably foreseeable acts and

omissions of others in furtherance of the jointly undertaken criminal activity. Courts have held

that under this relevant conduct provision a defendant may be held responsible for the

reasonably foreseeable firearm possession of co-actors under § 2B3.1(b)(2)(C). See, e.g.,

United States v. Dorsey, 209 F.3d 965, 967-68 (7th Cir. 2000); United States v. Medina, 74

F.3d 413, 417-18 (2d Cir. 1996).

       In the present case, defendant admitted that he joined a group of men to rob a cocaine

supplier. Although he arrived at Deshaun Baldwin’s house later than the other participants, the

facts set forth in the PSR and in defendant’s plea agreement established that defendant was

present when the men discussed the robbery, including that it was going to be for fourteen

“bricks,” street slang for cocaine. All of the men agreed to join in the robbery.

       Defendant was also present when Xavier Turner, the head of the assembled group at

Baldwin’s house, spoke to Eureka Hopson, the leader of the entire scheme, on speaker phone.

As the men left to commit the robbery, co-defendant James Ware was in possession of a

firearm. Baldwin also saw this defendant in possession of a firearm in the residence, although

Baldwin was not sure whose gun it was. Gilliam had his own gun, and Baldwin had a gun too.

       The men left Baldwin’s house in two cars, with defendant and Gilliam riding in a vehicle

driven by Turner. They met Hopson on the street, and Hopson looked at and handled Gilliam’s

gun; Hopson’s prints were later found on that gun. Turner got into Hopson’s car, and Gilliam

then drove their car with defendant as the passenger. The group then proceeded to the

Mitchell Domes in three cars, where they met the undercover agent, and he asked if they were

ready. The agent also said the robbery involved fourteen “keys” – slang for kilograms – and

                                                 3


    Case 2:09-cr-00054-LA       Filed 06/16/10       Page 3 of 14   Document 186
asked if everyone was straight on that. The agent then led the men to another location, where

they were all arrested. As indicated above, police recovered three guns from the cars, one of

which was at defendant’s feet, but which Gilliam later admitted was his.

       The record contained no evidence that defendant personally possessed a gun after the

men left Baldwin’s house. However, even if defendant did not provide his own gun or carry one

after they left Baldwin’s residence, the facts clearly established that defendant knew firearms

were involved in the offense. He was present at Baldwin’s house when the others prepared

for the robbery and armed themselves; he was present in the car when Hopson handled

Gilliam’s gun; and that gun ended up at his feet after it fell out of Gilliam’s lap when the police

arrested the defendants. I found it highly unlikely that defendant would be unaware of the gun

in Gilliam’s lap.

       Even if defendant was somehow blind to the fact that the other men actually carried

these specific guns as they left Baldwin’s house, the notion that it was not foreseeable to him

that his co-actors, intent on robbing a drug supplier of a large amount of cocaine, would not

carry firearms was quite implausible. See United States v. Emerson, 501 F.3d 804, 815 (7th

Cir. 2007). In any event, I found that under these circumstances, defendant did know that the

others involved in this robbery possessed guns in furtherance of the scheme to commit the

robbery, which defendant joined.

       Further, as indicated in both the PSR (PSR ¶ 16) and the factual basis section of

defendant’s plea agreement (Plea Agreement at 4), Deshaun Baldwin saw defendant in

possession of a gun in Baldwin’s residence. This further demonstrated defendant’s knowledge

that firearms were involved. At sentencing, defendant denied any personal firearm possession,

but I noted that even if he could deny what he previously conceded in the plea agreement,

                                                 4


    Case 2:09-cr-00054-LA       Filed 06/16/10       Page 4 of 14   Document 186
defendant offered no support for his contention. The Seventh Circuit has long held that district

courts may rely on information contained in a PSR so long as it is well-supported and appears

reliable. See, e.g., United States v. Moreno-Padilla, 602 F.3d 802, 808-09 (7th Cir. 2010)

(citing United States v. Heckel, 570 F.3d 791, 795 (7th Cir. 2009); United States v. Salinas, 365

F.3d 582, 587 (7th Cir. 2004); United States v. Mustread, 42 F.3d 1097, 1101-02 (7th Cir.

1994)). And when the court relies on a PSR, it is the defendant’s task to show that the facts

contained in the report are inaccurate. He must produce some evidence that calls the reliability

or correctness of the alleged facts into question; a bare denial is not enough. See Mustread,

42 F.3d at 1101-02. Only if the defendant’s objection creates real doubt as to the reliability of

the information in the PSR does the government have the burden of independently

demonstrating the accuracy of the information. See Moreno-Padilla, 602 F.3d at 809.

       I found Baldwin’s statement as to defendant’s personal firearm possession credible and

reliable. Baldwin’s statements about what happened in this case were entirely consistent with

the other evidence in the case, including the undercover officer’s dealings with Hopson; the

statements of the other cooperators present at Baldwin’s house, including Gilliam; the phone

records verifying the calls between Hopson and Turner at Baldwin’s house; the discovery of

Hopson’s prints on Gilliam’s gun; and Ware’s jailhouse confession to another inmate.

       Defendant, on the other hand, lacked credibility. After his arrest, he was interviewed

twice by investigators, both times denying that he had been with the co-defendants earlier that

day at Baldwin’s house. Rather, he said that he was waiting for a bus when Gilliam drove up

and offered him a ride. In the first interview, he stated that Gilliam was going to give him a ride

to Potawatomi Casino to meet his girlfriend, Keneesha; he said he did not remember stopping

at the Mitchell Domes, where they met the undercover agent and Hopson to discuss the

                                                 5


    Case 2:09-cr-00054-LA       Filed 06/16/10       Page 5 of 14   Document 186
robbery, because he was on the phone with this girlfriend. In the second interview, defendant

claimed that Gilliam was giving him a ride to Milwaukee Area Technical College (“MATC”), and

that during the ride he was texting his girlfriend, whose name was now Vanessa. Both

statements were false, as he later conceded. Defendant offered absolutely no corroboration

for his claims, which I rejected as incredible. For all of these reasons and those stated in the

PSR addendum, I overruled this objection.

B.     Controlled Substances as an Object of the Offense Enhancement

       Under U.S.S.G. § 2B3.1(b)(6), “If a firearm, destructive device, or controlled substance

was taken, or if the taking of such item was an object of the offense, increase by 1 level.”

Defendant claimed that he was not certain what the object of the activity was to be. However,

as the facts recounted above make clear, this objection lacked any merit. Defendant was

present at Baldwin’s house when the men discussed the robbery of fourteen “bricks,” street

slang for kilograms of cocaine. He was present when Hopson called Turner at Baldwin’s house

to tell them it was time to leave. And he was present when the agent told them that this

involved fourteen “keys” of cocaine and asked if everyone was straight on that.

       After their arrest, defendant and Gilliam were placed in a transport van wired for sound,

and they talked about the robbery, stating the “14 keys couldn’t be real.” (PSR ¶ 21.)

Defendant claimed that this supported his argument, but I disagreed; rather, it showed that

defendant knew the object of the crime was to steal fourteen kilograms of cocaine; after he

learned that this was a sting, he voiced his suspicion that the cocaine could not be real. For

these reasons and those stated in the PSR addendum, I also overruled this objection.




                                                6


     Case 2:09-cr-00054-LA     Filed 06/16/10       Page 6 of 14   Document 186
C.     Recency Points Under U.S.S.G. § 4A1.1(e)

       Under U.S.S.G. § 4A1.1(e), “Add 2 [criminal history] points if the defendant committed

the instant offense less than two years after release from imprisonment on a sentence counted

under (a) or (b) or while in imprisonment or escape status on such a sentence.” Defendant

conceded that he committed the instant offense in January 2008, less than two years after his

May 2007 release from the 6 month sentence after revocation.

       As defendant correctly noted, the Sentencing Commission has proposed eliminating

these so-called “recency” points. See Federal Register Notice of Submission to Congress of

Amendments to the Sentencing Guidelines Effective November 1, 2010, at 29. Barring

congressional action, § 4A1.1(e) will be gone as of November 1, 2010. However, the court

applies the guidelines in effect at the time of sentencing. See U.S.S.G. § 1B1.11(a); see also

United States v. Deloney, 578 F.3d 690, 693 (7th Cir. 2009). The court can consider proposed

changes under § 3553(a), see United States v. Angle, 598 F.3d 352, 360 (7th Cir. 2010), but

as a guideline matter defendant’s argument lacked merit.

D.     Attempt Reduction

       In an attempt case, the base offense level is derived from the guideline for the

substantive offense, with a 3 level reduction, unless the defendant completed all the acts

necessary for successful completion of the substantive offense or the circumstances

demonstrate that the defendant was about to complete all such acts but for apprehension or

interruption by some similar event beyond the defendant’s control. U.S.S.G. § 2X1.1(b)(1).

       I granted the 3 level reduction for the comparable co-defendants in this case, United

States v. Ware, No. 09-CR-54, 2010 WL 545869, at *1 (E.D. Wis. Feb. 11, 2010); United



                                                7


     Case 2:09-cr-00054-LA     Filed 06/16/10       Page 7 of 14   Document 186
States v. Raddle, No. 09-CR-54, 2010 WL 342590, at *2 (E.D. Wis. Jan. 23, 2010), and agreed

with the parties that it should apply in this case as well. As the government explained, at the

time the defendants were arrested the plan and preparations for the robbery were incomplete,

in that none of the defendants knew the identity of the planned victim, where the robbery would

occur, and specifically how the robbery would occur. Although they knew the robbery was of

a supplier of fourteen kilograms of cocaine, none knew their respective roles or how the

proceeds would be divided. I agreed that given these circumstances the reduction applied.

I further noted that § 2X1.1(c) provided no basis for denying the reduction, as U.S.S.G. § 2B3.1

does not expressly cover attempts. See Raddle, 2010 WL 342590, at *2.

E.     Conclusion on Guidelines

       I otherwise adopted the PSR’s factual statements as the court’s findings of fact. The

final offense level was 20, the criminal history category III, and the range 41 to 51 months

imprisonment. I turned then to imposition of sentence under § 3553(a).2

                                     II. SECTION 3553(a)

A.     Sentencing Factors

       In imposing the ultimate sentence, the district court considers the factors set forth in §

3553(a):

       (1)    the nature and circumstances of the offense and the history and characteristics
              of the defendant;

       (2)    the need for the sentence imposed–



       2
       At the end of his objections, defendant indicated that he believed Milwaukee County
Child Support Enforcement had received a payment from him in the form of a tax intercept,
updating the information in ¶ 68 of the PSR; however, he provided no documentation of this
payment. I concluded that I need not rule on this issue under Fed. R. Crim. P. 32(i)(3)(B).

                                                 8


     Case 2:09-cr-00054-LA      Filed 06/16/10       Page 8 of 14   Document 186
              (A) to reflect the seriousness of the offense, to promote respect for the law,
              and to provide just punishment for the offense;

              (B) to afford adequate deterrence to criminal conduct;

              (C) to protect the public from further crimes of the defendant; and

              (D) to provide the defendant with needed educational or vocational training,
              medical care, or other correctional treatment in the most effective manner;

       (3)    the kinds of sentences available;

       (4)    the advisory guideline range;

       (5)    any pertinent policy statements issued by the Sentencing Commission;

       (6)    the need to avoid unwarranted sentence disparities; and

       (7)    the need to provide restitution to any victims of the offense.

18 U.S.C. § 3553(a).

       The court must, after considering these factors, impose a sentence that is “sufficient but

not greater than necessary” to satisfy the purposes of sentencing – just punishment,

deterrence, protection of the public, and rehabilitation of the defendant. While the district court

must give respectful consideration to the guidelines in determining a sufficient sentence, see

Gall v. United States, 552 U.S. 38, 49 (2007), it need not accept the Commission’s approach,

see United States v. Bartlett, 567 F.3d 901, 908 (7th Cir. 2009), cert. denied, 130 S. Ct. 1137

(2010). Rather, the court must make an independent determination, without any thumb on the

scale favoring a guideline sentence, United States v. Sachsenmaier, 491 F.3d 680, 685 (7th

Cir. 2007), taking into account the types of sentences available, the other relevant § 3553(a)

factors, and the arguments of the parties, see Gall, 552 U.S. at 49-50.




                                                 9


    Case 2:09-cr-00054-LA       Filed 06/16/10       Page 9 of 14   Document 186
B.      Analysis

        1.     The Offense

        As discussed above, the government obtained information that a man named Eureka

Hopson was in the business of committing armed robberies of drug dealers to steal their drugs

and money. An undercover agent, posing as a cocaine dealer from Rochester, New York,

made contact with Hopson, and they discussed robbing the agent’s supplier. Hopson and the

agent eventually agreed on a plan whereby they would rob fourteen kilograms of cocaine from

the supplier, which they would split. The robbery was scheduled to occur on the night of

January 28, 2009.

        On that date, the agent and Hopson spoke, and Hopson indicated that instead of his

usual partner he was bringing another partner who had several young males with him who liked

to shoot. On the afternoon of January 28, the robbery participants – later to become the co-

defendants in this case – gathered at the residence of Deshaun Baldwin and his girlfriend.

Defendant Wilson joined them later. In the house, the men drank alcohol, smoked marijuana,

and listened to music. Some time later, Hopson called Turner, the head of the assembled

group, and discussed the robbery. The men left to meet Hopson, then drove to the Mitchell

Domes, where they met the agent, who confirmed that they were ready. The agent then led

the men to another location, where all eight were arrested. Agents seized a total of three guns.

        2.     The Defendant

        Defendant was twenty-four years old, with a pretty serious prior record for one so young,

including for related conduct: a juvenile adjudication for armed robbery in 2001, in which he

stole a car at gun point; then adult convictions for resisting an officer in 2004; marijuana



                                                 10


     Case 2:09-cr-00054-LA      Filed 06/16/10        Page 10 of 14   Document 186
possession in 2005; and marijuana possession, resisting, and bail jumping in 2005. He

performed poorly on probation in the final case, being revoked in 2007, and committed this

offense about a year later. Police listed him as a member of the “Murda Mob” gang, and the

PSR reported that he had the gang’s name tattooed on his arms.

       The record contained some positives. Defendant had two children, ages two and four,

and although he owed some back child support it appeared that he tried to be involved in their

lives. His current girlfriend remained supportive and said he was good with her kids. I received

a positive letter from his foster mother, and his pastor made positive statements at sentencing,

indicating that defendant helped out around the church and seemed sincere in his desire to

turn his life around. Defendant complied with his conditions of release, submitting negative

drug tests after one residual positive, a step in the right direction given his admitted history of

marijuana use. (PSR ¶¶ 76-79.) He was at the time of sentencing taking classes at MATC,

and I received a positive letter from his instructor. He had some work record, as set forth in the

PSR. (PSR ¶¶ 84-86.) Defendant’s correctional needs included substance abuse and mental

health treatment (PSR ¶¶ 73-74), in addition to furthering his education and acquiring

vocational skills.

       3.     The Sentence

       The guidelines called for 41-51 months, and the government recommended a sentence

within the range. Defendant suggested a split sentence. I found a full prison sentence

necessary to satisfy the purposes of sentencing here.

       Although this was a sting operation, as I noted in sentencing the co-defendants, this was

nevertheless a very serious crime. Armed with handguns, these defendants agreed to engage

in the robbery of a drug runner, who was also likely to be armed. The ease with which the

                                                 11


   Case 2:09-cr-00054-LA        Filed 06/16/10        Page 11 of 14   Document 186
defendants who assembled at Baldwin’s house agreed to engage in this dangerous conduct

was striking, and I found that in some ways the spur of the moment nature of the offense made

it worse. Prison was needed to provide just punishment and promote respect for the law.

Prison was also necessary to protect the public and deter. Defendant had a fairly serious prior

record for one his age, including a prior armed robbery adjudication, and lesser sentences had

not deterred him.3

      I did find that a term somewhat below the guidelines’ recommendation would suffice.

First, defendant’s role in the offense was limited. He did not plan the robbery, provide

materials, and came in very late. Second, defendant had during the pendency of this case

demonstrated some positive progress – seeking to further his education, testing negative,

working some. Third, he had never been to prison before. Generally, a lesser period of

imprisonment is required to deter a defendant not previously subject to lengthy incarceration

than is necessary to deter a defendant who has already served serious time yet continues to

re-offend. See United States v. Qualls, 373 F. Supp. 2d 873, 877 (E.D. Wis. 2005). This factor

did not merit significant weight here, as defendant previously served 6 months in jail,

completing that sentence less than one year before he committed the instant offense.

      Under all the circumstances, I found a sentence of 27 months sufficient but not greater

than necessary. This sentence provided sufficient punishment, deterrence and protection of

the public, given the serious nature of the crime and the danger it presented, while



      3
       As noted above, the Commission has proposed eliminating recency points under
U.S.S.G. § 4A1.1(e). But for those points, defendant’s criminal history category would have
been II. Nevertheless, I considered defendant’s previous failure on supervision in the
community and the failure of the 6 month revocation sentence to deter him from returning to
crime as aggravating factors under §§ 3553(a)(2)(B) & (C).

                                               12


   Case 2:09-cr-00054-LA      Filed 06/16/10        Page 12 of 14   Document 186
acknowledging defendant’s limited role and the positives in his character discussed above.

       This sentence varied modestly from the guidelines, and because it was based on the

particular facts of the case it created no unwarranted disparity compared to other offenders

nationally. See 18 U.S.C. § 3553(a)(6). It also placed defendant fairly in this case. See

Bartlett, 567 F.3d at 909-09 (holding that the district court may consider the sentences imposed

on co-defendants). Travis Raddle, who received 24 months, and James Ware, who received

21 months, were comparable to this defendant as far as the conduct was concerned, and like

this defendant neither cooperated with the government, but Raddle and Ware both in fell in

criminal history category I and lacked this defendant’s serious record. Co-defendants Brandon

Bean and Johnny Gilliam, both of whom received 21 months, had prior records, but they

cooperated with the government, which supported a different sentence for them. See United

States v. Turner, 604 F.3d 381, 389 (7th Cir. 2010) (“A difference justified by the fact that a

codefendant assisted the government, whereas the defendant did not is not ‘unwarranted.’”).

Defendant seemed most comparable to Gilliam, regarding both the offense conduct and prior

record, but Gilliam received a 6 level U.S.S.G. § 5K1.1 departure, which supported his 21

month sentence. I declined to impose a significantly higher sentence on defendant than the

others, in recognition of his very late entry into the scheme and the positives in his character

discussed above.4 This sentence was based on § 3553(a) and all the circumstances of the

case, and would have been the same regardless of my findings on the disputed guideline



       4
       As the parties recognized, Hopson (144 months) and Turner (106 months) occupied
leadership positions in this offense and did not serve as apt sentencing comparisons.
Baldwin’s designation as a career offender under U.S.S.G. § 4B1.1 likewise made a
comparison to him inapt. Based primarily on his cooperation, I sentenced Baldwin to 68
months.

                                                13


   Case 2:09-cr-00054-LA       Filed 06/16/10        Page 13 of 14   Document 186
issues.

                                      III. CONCLUSION

       I therefore committed defendant to the custody of the Bureau of Prisons for 27 months,

followed by three years of supervised release. As conditions of supervision, I ordered

defendant to participate in a program of drug testing and treatment, attend to his child support

obligations, participate in mental health treatment, and avoid all association or communication

with the Murda Mob gang or any other gang.

       Dated at Milwaukee, Wisconsin, this 15th day of June, 2010.

                                          /s Lynn Adelman
                                          ______________________________
                                          LYNN ADELMAN
                                          District Judge




                                                14


   Case 2:09-cr-00054-LA       Filed 06/16/10        Page 14 of 14   Document 186
